Case 3:18-cr-OOO44-I\/||\/|D-VPC Document 1-2 Filed 05/23/18 Page 1 of 3
Case 2:14-cr-00533-GP Document 1 Filed 09/29/14 Page 1 of 3

IN THE UNITED STA'I`ES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

UNITEI) STATES OF AMERICA : CRIMINAL NO.
v. : DATE EILED:
JOAN BARANEK : VIOLATIONS:
18 U.S.C. § 1341 (mail fraud -- 1
count)

26 U.S.C. § 7206(1} (filing false
income tax return -- 1 count)
INFORMATION
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THE UNITED STATES ATTORNEY CHARGES THAT:
l. At all times relevant to this information, defendant JOAN BARANEK Was
a vice president for sales at Airgas Safety, lnc., (“Airgas”), a subsidiary of Airgas, Inc., based in
Levittown, Pennsylvania.
2. ln her capacity as a vice president of sales, defendant JOAN BARANE.K
Was responsible for designing and managing a sales incentive program for telesales centers (call
centers). For the incentives program, defendant BARANEK purchased gift cards and other award
prizes With her personal American Express card, and then submitted expense reports to Airgas for
reimbursement ln support of her expense reports, defendant BARANEK attached invoices for
the gift cards and award prizes to the expense reports
3. At least as early as approximately July 2010, expense reimbursement
checks from Airgas Were mailed to defendant BARANEK’s residence in Yardley, Pennsylvania,

from an outsourced payment processing center in Oregon.

 

Case 3:18-cr-OOO44-I\/||\/|D-VPC Document 1-2 Filed 05/23/18 Page 2 of 3
Case 2:14~cr~00533-GP Document 1 Filed 09/29/14 Page 2 of 3

THE SCHEME
4. From in or about May 2006 to in or about December 2012, defendant
JOAN BARANEK
devised and intended to devise a scheme to defraud Airgas, and to obtain money and property by
means of false and fraudulent pretenses, representations and promises
MANNER AND MEANS

lt Was part of the scheme that:

5. Defendant JOAN BARANEK altered invoices or even created fictitious
invoices, Which she attached to her expense reports so as to obtain reimbursement for alleged
promotional expenses that she never incurred. From approximately May 2006 to December
2012, defendant BARANEK submitted approximately 200 expense reports claiming a total of $ l .8
million in promotional expenses; of these, approximately 121 of the reports contained altered,
fictitious, or duplicate invoices in support of the expensed promotional items, for a total of
approximately $830,504 of fraudulent expenses

6. On or about February 2, 2012, in Levittovvn, in the Eastern District of
Pennsylvania, defendant

JOAN BARANEK,
for the purpose of executing the scheme described above, and attempting to do so, knowingly
caused to be delivered by mail according to the directions tliercon, a check drawn on an Airgas’
account at Bank of America, payable to defendant BARANEK for $8,432.02, for reimbursement
of promotional expenses allegedly incurred by defendant BARANEK Which in fact she never
incurred, documented on an expense report that Was fictitious

`ln violation of Title ] 8, United States Code, Section 1341.

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Case 3:18-cr-OOO44-I\/||\/|D-VPC Document 1-2 Filed 05/23/18 Page 3 of 3
Case 2:14-cr-00533-GP Document l Filed 09/29/14 Page 3 of 3

COUNT TWO

THE UNITED STATES ATTORNEY FURTHER CHARGES THAT:

On or about February 25 , 2009, in Philadelphia, in the Eastern District of
Pennsylvania, and elsewhere, defendant

JOAN BARANEK

Wiilfully made and subscribed a United States income tax return, Form 1.040, for the calendar year
2008, Which Was verified by a vvritten declaration that it Was made under the penalty of perjury and
filed With the Director, lnternal Revenue Service Center, at Philadelphia, Pennsylvania, Which
defendant BARANEK did not believe to be true and correct as to every material matter, in that the
return reported that her taxable income Was $1.55,419, When, as defendant BARNEK l<nevv, her
actual taxable income Was significantly more, i.e., approximately $360,944.

In violation of Title 26, United States Code, Section 7206(1).

 

ZANE DAVID MEMEGER
United States Attorney

